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                       IN THE UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF OHIO
                                 EASTERN DIVISION

John Doe,                                     :
                                              :       Case No. 2:16-cv-00171
               Plaintiff,                     :
                                              :       Judge George C. Smith
       v.                                     :
                                              :       Magistrate Chelsey M. Vascura
The Ohio State University,                    :
                                              :
               Defendant.                     :

                    REPLY MEMORANDUM IN SUPPORT OF
             MOTION TO COMPEL PRODUCTION OF DOCUMENTS AND
                     RESPONSES TO INTERROGATORIES

       Throughout discovery, Defendants have attempted to narrowly limit discovery, ignoring

the content of specific discovery requests from Plaintiff, and instead producing select documents

and responses in a general fashion to support its theory of the case. (Doc. No. 57) Defendants

take the same approach in its response to Plaintiff’s Motion to Compel. Instead of addressing the

relevance of and its ability to respond to the specific discovery requests at issue in Plaintiff’s

Motion to Compel (Doc. Nos. 90 & 91), Defendants respond broadly and attempt to prohibit any

of the requested discovery into relevant topics while ignoring their obligations under the Federal

Rules of Civil Procedure. Defendants have failed to demonstrate that the requested discovery is

irrelevant, unduly burdensome or not proportionate to the needs of the case. Accordingly,

pursuant to Fed. R. Civ. P. 37, Defendants should be ordered to produce: (i) a privilege log 1; (ii)

documents exchanged with the U.S. Department of Education and its Office of Civil Rights

relating to Title IX compliance at OSU; (iii) information and documents relating to

1In the motion, Plaintiff sought complete written responses to his discovery requests. Since filing
the brief, Defendants notified Plaintiff that it overlooked one set of written responses and
supplemented their responses to respond to the unanswered discovery requests. Thus, the issue
raised in the Motion to Compel relating to unanswered discovery requests is resolved.
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investigations at OSU into other Title IX matters of similarly situated students; (iv) documents

relating to OSU’s investigation and closing of its Office of Sexual Civility and Empowerment;

(v) documents relating to OSU’s Title IX policies and training materials; (vi) information and

documents relating to pages on OSU’s website relating to Title IX; and (vii) documents relating

to other Title IX lawsuits brought against OSU by male students. Plaintiff also seeks the payment

of expenses, including attorney’s fees, for filing this motion. Fed. R. Civ. P. 37(a)(5).

 A.      ADDITIONAL BACKGROUND FACTS AND INFORMATION

         Since moving the Court to compel discovery, the Court ruled on Plaintiff’s Motion to

 Reconsider (Doc. No. 94). As a result, the current claims in the case are: Title IX erroneous

 outcome claim against OSU and equal protection violation claim against OSU, Kelly Smith

 and Matthew Page.

 B.      ARGUMENT

         1.     Privilege Log

       Defendants have not produced a privilege log. The pattern of promising to produce, but

failing to do so, continues here. Defendants have been working on their document production for

at least a year. Granted, the parties agreed to stay discovery to allow the Court time to rule on the

Motion to Reconsider and this Motion to Compel and avoid repetitive discovery. However, it is

inaccurate to say that any delay was due to settlement negotiations. The case was stayed after

settlement efforts failed. The parties have discussed settlement on and off since the case was

filed, all of which have failed. There are no ongoing settlement negotiations and no reason for

Defendants to delay preparing and producing its privilege log. The purpose of the delay was to

avoid the risk of reviewing documents multiple times or duplicative depositions.

       Plaintiff’s position is that the Court must set strict deadlines for Defendants to produce


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the privilege log (and any other discovery ordered herein). Otherwise, the pattern of

unnecessarily slow discovery responses will continue, all to the expense of Plaintiff, whose life’s

plans are on hold pending resolution of this case. The point of the discovery stay was so

discovery can happen efficiently and effectively after the Court rules on the Motion to Compel.

A deadline for the privilege log to be produced and further discovery will further that goal.

        2.      Requests for Documents Relating to the United States Department of
                Education and Compliance with Title IX

        Defendants’ response to this section is a prime example of their efforts to avoid

 responding to specific discovery responses and limit discovery to general information that fits

 their narrative. Plaintiff sought to compel Defendants to respond fully to the following

 discovery requests contained in Plaintiff’s First Request for Production of Documents,

 Document Request Nos. 8-12 and 27:

        8.     All documents concerning any investigation of OSU by the DOE concerning the
               handing of sexual misconduct cases or gender discrimination, including OCR
               Docket Nos. 15-10-6002, 15-13-2165, 15-15-2195, and 15-15-2208.

        9.     All documents concerning the DOE’s April 11, 2011 Dear Colleague letter.

        10.    All documents concerning OSU’s agreement with the DOE to resolve OCR
               Docket No. 15-10-6002.

        11.    All documents concerning OSU’s fulfillment of the terms agreed to with DOE to
               resolve OCR Docket No. 15-10-6002, including the agreement to:

                   a. Appoint, and publicize the appointment of, a Title IX Coordinator and
                      Deputy Title IX Coordinators;

                   b. Create a Title IX webpage;

                   c. Establish a centralized Office of University Compliance and Integrity;

                   d. Create an OSU-wide Title IX notice of nondiscrimination;

                   e. Add links to the Student Conduct website to access information about
                      sexual harassment and sexual assault;

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                     f. Form a sexual violence consultation team;

                     g. Increase Title IX training OSU-wide;

                     h. Create a system of cooperation with OSU police;

                     i. Demonstrate responsive and appropriate actions taken against students,
                        faculty and staff who violate Title IX as it relates to sexual harassment and
                        sexual violence; and

                     j. Address the sexually hostile environment that OSU alleged existed in the
                        OSU Marching Band by issuing a statement to OSU.

           12.   All status reports submitted to DOE.

           27.   All documents concerning the University’s efforts to comply with the provisions
                 of Title IX since 2010.

(Exhibit 2) 2. Instead of addressing these requests, Defendants seek a general order prohibiting

any discovery into DOE pressure asserted on OSU to strictly enforce Title IX against male

students accused of sexual assault, aside from select documents it has chosen to produce and

make public.

           a.    The requested documents are relevant and reasonably calculated to lead to the
                 discovery of admissible evidence.

          Defendant asserts that “Plaintiff’s motion to compel provides no explanation regarding

the relevance of these documents, other than to make the blanket statement that ‘. . .

Defendant’s efforts to comply with the response to pressure from OCR are relevant and

discoverable.” (Doc. No. 96, Memo in Opp., pp. 7-8) This is a false representation that ignores

the brief and previous rulings from this Court.

          Contrary to Defendants’ representation, Plaintiff provided the following reasons why the

documents are relevant:

          (1) Plaintiff’s allegations that Defendants’ discrimination against him was motivated in


2   The referenced exhibits are those filed with the Motion to Compel.
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           part by pressure from the U.S. Department of Education (“DOE”) and its Office of

           Civil Rights (“OCR”), in particular because of OCR’s investigation into OSU’s Title

           IX compliance, which this Court recognized in the original Motion to Dismiss order,

           if true, would be circumstantial or indirect evidence of discrimination, see Doe v.

           OSU, No. 2:16-CV-171, 2017 WL 951464, *15, 17 (S.D. Ohio Mar. 10, 2017)

           (noting Title IX plaintiff alleged indirect/circumstantial evidence of gender bias in

           part by alleging “pressure from the executive branch of the Federal government . . .

           [related to] the temporal connection between . . . [DOE’s] investigation of OSU and

           OSU’s investigation of” plaintiff);

       (2) those reasons contained in detailed briefing relating to Plaintiff’s subpoena to the

           DOE/OCR, which the Court had recently addressed and which did not need to be

           completely restated in the Motion to Compel (see Doc. Nos. 66, 68); and

       (3) the Court’s ruling relating to Plaintiff’s subpoena to the DOE/OCR that “’[a]ny

           documents or communications from the Department of Education to the

           University or from the University to the Department that may bear on the factors

           motivating Defendants should be in the University’s possession and obtain[ed]

           from Defendants.” (Doc. No. 87, pp. 2-3) (emphasis added). 3

Because the relevance of the documents was contained in the opening brief, Defendants’ request

at p. 8, footnote 3, to file a sur-reply must be denied. Since Plaintiff has been alleging that

pressure from the DOE/OCR led OSU to discriminate against him and other male students

accused of sexual assault to avoid the loss of federal funds, Defendants cannot argue that

3Further demonstrating the relevance of the DOE/OCR documents in Title IX cases, counsel for
Plaintiff issued the same subpoena to the DOE/OCR in a similar case they are litigating against
the University of Cincinnati in the Western Division before Judge Dlott, who ordered the
DOE/OCR to produce the requested documents. See Gischel v. University of Cincinnati, et al.,
Case No. 1:17-cv-00475, Doc. No. 28.
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Plaintiff has not made clear his argument for why the requested documents and communications

are relevant.

       In addition to this Court’s rulings, the Sixth Circuit has ruled twice this year that pressure

from the DOE/OCR on universities is circumstantial evidence that can be used to show

discrimination under Title IX. See Doe v. Baum, et al., ___ F.3d ____, 2018 WL 4265634, at

**7-8 (6th Cir. Sept. 7, 2018) (finding pressure from the DOE and fear of losing federal funding,

together with other allegations of bias, is sufficient to state a plausible claim of gender

discrimination); Doe v. Miami Univ., 882 F.3d 5979 (6th Cir. 2018) (finding plaintiff pled a

plausible claim of gender discrimination because of allegations that Miami faced “pressure from

the government to combat vigorously sexual assault on college campuses and the severe

potential punishment—loss of federal funds—if it failed to comply.”)

       Additionally, as stated in the briefing relating to the DOE’s subpoena, authority that

pressure from the DOE/OCR is relevant in Title IX cases such as this goes well beyond the Sixth

Circuit. See, Schaumleffel v. Muskingum University, No. 2:17-cv-463-GCS-KAJ, 2018 WL

1173043, at *16 (S.D. Ohio Mar. 6, 2018) (rejecting motion to dismiss Title IX claim because

plaintiff alleged he was erroneously expelled in part because DOE pressure caused university to

“fear” a loss of “federal funding.”); Gischel, No. 1:17-cv-475, 2018 WL 705886, at *9 (rejecting

motion to dismiss in part because of alleged gender bias pressure linked to OCR Title IX

investigation since “[t]he Sixth Circuit has recognized that being investigated by the federal

government for potential Title IX violations is a relevant allegation suggesting that the university

might be induced to discriminate against males in disciplinary hearings for alleged sexual

assault”); Rolph v. Hobart & William Smith Colleges, 271 F.Supp.3d 386, *11 (W.D.N.Y. 2017)

(rejecting motion to dismiss Title IX erroneous outcome claim in part because plaintiff alleged


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defendant university “faced pressure from the federal government to take a hard stance on sexual

assault on campus. He focuses on OCR’s “Dear Colleague Letter” from April 2011 . . . OCR’s

threat to withhold federal funding from schools . . . and the U.S. Department of Education’s

disclosure in May 2014 that [defendant university] was one of 55 universities under investigation

. . . [which caused defendant university to] limit procedural protections afforded to male students

. . . [to] avoid further scrutiny.”); Doe v. Marymount Univ., No. 1:17-cv-401-TSE-MSN, 2018

WL 1352158, *10 (E.D. Va. Mar. 14, 2018) (rejecting motion to dismiss in part because plaintiff

alleged: “Marymount's sexual assault policy was influenced by [OCR’s] Dear Colleague Letter

and other political forces and that the University's procedures were designed to convict male

students of sexual assault, whether they were guilty or not . . . .”); Neal v. Col. St. Univ., No. 16-

cv-873-(RM)(CBS), 2017 WL 633045, *14 (D. Col. Feb. 16, 2017)(rejecting motion to dismiss

in part because plaintiff alleged his erroneous outcome involved university succumbing to

“pressure to avoid DOE investigation and loss of federal funding . . . .”); Doe v. Washington &

Lee Univ., No. 6:14-cv-00052, 2015 U.S. Dist. LEXIS 102426, *29 (W.D. Va. Aug. 5,

2015)(refusing to dismiss Title IX claim in part because plaintiff alleged university was “under

pressure from the government to convict male students of sexual assault, [therefore] a reasonable

fact finder could plausibly determine that Plaintiff was wrongly found responsible for sexual

misconduct and that this erroneous finding was motivated by gender bias.”); Wells v. Xavier

Univ., 7 F. Supp. 3d 746, 747, 751 (S.D. Ohio 2014)(rejecting motion to dismiss in part because

plaintiff alleged university made him a “scapegoat” in reaction to OCR’s investigations of the

university); Collick v. William Paterson Univ. No. 16–471(KM)(JBC), 2016 WL 6824374, *12

(D.N.J. Nov. 17, 2016) (refusing to dismiss a Title IX claim in part because plaintiff alleged

OCR pressure may have caused university to “believe it was in the spotlight” and therefore


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erroneously disciplined plaintiff to show it would sanction males accused of sexual

misconduct)(affirmed in part, remanded in part on different grounds by Collick v. William

Paterson Univ., 699 Fed. Appx. 129 (3rd Cir. 2017)); Doe v. Salisbury Univ., 123 F. Supp. 3d,

748, 768 (D.C. Md. 2015) (rejecting motion to dismiss in part because plaintiffs alleged

university possessed communications evidencing its erroneous discipline of plaintiffs was

causally linked to university’s desire to demonstrate to DOE that the university would

aggressively discipline male students); Doe v. Lynn Univ., Inc., No. 9:16–cv–80850, 2017 WL

237631, *4 (S.D. Fla. Jan. 19, 2017) (refusing to dismiss Title IX claim where plaintiff alleged

his discipline occurred in part because of pressure related to DOE directives interpreted by

university as mandating discipline of male students accused of sexually assaulting female

students); Doe v. George Washington Univ. No.18-cv-553, 2018 WL 1972461 (D.C. Apr. 25,

2018)(finding allegations of external pressure related to OCR investigation against university

would “forestall dismissal” of a Title IX complaint, but was not “sufficient to show likelihood of

success . . . for a preliminary injunction.”); Doe v. Regents of Univ. of California, No. 2:15-cv-

02478-SVW-JEM (C. Dist. CA. June 8, 2017)(unreported)(rejecting motion to dismiss because

plaintiff alleged university faced “growing local and national pressure” to discipline male

students generated in part by female students’ OCR complaints alleging the university “failed to

adequately handle their complaints of sexual assault.”)(reversed on other grounds by Doe v.

Regents of Univ. of California, 2018 WL 1476666 (9th Cir. 2018);; see also, Doe v. Brandeis

Univ., 177 F.Supp.3d 561, 572 (D. Mass. 2016) (rejecting motion to dismiss breach of contract

claim in part because: “[U]niversities across the United States have adopted procedural and

substantive policies intended to make it easier for victims of sexual assault to make and prove

their claims and for the schools to adopt punitive measures in response. That process has been


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substantially spurred by the [2011] ‘Dear Colleague’ letter.”). 4

       Defendants ignore this Court’s prior determination that documents and communications

between OSU and the DOE/OCR are relevant and should be produced by Defendants and ignore

binding authority from the Sixth Circuit, 5 and instead point to an outdated, non-binding ruling in

the Waters case. It simply cannot be that Plaintiff, or any other male plaintiff in a Title IX

lawsuit, can rely on pressure from the DOE/OCR to allege a claim of discriminatory treatment,

but not be entitled to discovery relating to the allegations. It also cannot be that Plaintiff is not

entitled to documents from the DOE/OCR because he can obtain those documents from OSU,

but that OSU can refuse to provide the documents. To find otherwise would be illogical.

         b.    The RFPs are not disproportionate to the needs of the case.

       Although Defendants do not address the RFPs individually, it appears that their

argument regarding proportionality relates to RFP No. 27, which seeks “[a]ll documents

concerning the University’s efforts to comply with the provisions of Title IX since 2010.” The

request is not disproportionate because the estimated cost to OSU does not outweigh the cost to

Plaintiff of losing the benefit of his college degree and the opportunity to pursue future

education. For comparison of the harm to OSU of $50,000 in discovery, the Court should

consider that the university recently approved a budget of $500,000 for the law firm of

Debevoise & Plimpton to investigate misconduct allegations against Urban Meyer at an hourly

rate              not               to                exceed              $1,620.               See

4 The case Defendants relied upon, Doe v. Baylor Univ., 6:16-cv-00173 (ECF No. 146, pp. 8-9)
(W.D. Tx. July 26, 2017), is not helpful for the Court’s determination of this issue because the
third party records at issue there were investigations by the NCAA and the Texas Rangers, not
third party documents relating to pressure asserted on the university to engage in gender
discrimination. However, as discussed later, the case is very helpful to the Court in determining
whether Defendants are entitled to records relating to other similar Title IX investigations. Id. at
pp. 4-8.
5 Baum was not issued when Defendants filed their brief. However, that decision relies heavily

on Miami, which was issued at the time of filing.
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 https://www.cleveland.com/osu/2018/08/ohio_states_investigation_of_u.html          (last   accessed

 Sept. 13, 2018).

         Even if RFP No. 27 is disproportionate, Plaintiff’s intent is not to request every

 document sent to each of OSU’s students and employees or unrelated Title IX documents.

 Accordingly, Plaintiff proposes the Court limit RFP No. 27 to documents relating to efforts to

 comply with Title IX’s requirements relating to sexual misconduct, sexual assault, consent and

 sexual harassment. Moreover, in response to Defendants’ representation that they do “not even

 know where to start to gather such documents,” Plaintiff respectfully suggests the Court order

 the parties to agree to an ESI protocol and discuss which custodial files should be searched and

 what the agreed search terms should be. This approach is fairly standard protocol when

 conducting electronic discovery and will alleviate any remaining claims of undue burden or

 disproportionality. Plaintiff is entitled to the discovery.

          c.        The Court should order Defendants to provide complete responses.

         Defendants’ statement that a “gargantuan” number of documents have been produced to

 Plaintiffs relating to the DOE/OCRs’ investigation of OSU is simply untrue. In total, Defendants

 have produced 1,600 documents to Plaintiff, only a fraction of which relate to the DOE/OCR

 investigation. 6

         Throughout the discovery dispute relating to RFPs 8-12 and 27, Defendants have asserted

 that they have “produced or made available what it believes are all relevant documents related to

 its interactions with DOE/OCR (Per RFPD nos 8-12 and 27). The produced or made available

 OCR documents are those documents produced by OSU in the Waters v. Drake case.” See, Ex. 9,

 p. 1, ¶ 1. However, for the reasons stated on page 1-2 of Exhibit 8, Plaintiff believes in good faith

 6Plaintiff obtained over 8,000 documents from a subpoena it issued to NCHERM in this case.
 However, the vast majority of those documents do not relate to OSU specifically, for instance,
 there are repetitive copies of training manuals used by NCHERM.
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 that Defendants’ production is not complete and they have not produced all relevant documents.

 Moreover, there is no reason why Plaintiff’s discovery should be limited to whatever it is that the

 band director’s attorney requested in discovery years ago.

        Defendants admit at page 10 of their brief that it has not produced “internal

 communications about the issues and additional communications with DOE/OCR.” These are the

 types of documents that are relevant and discoverable in cases such as this where it is necessary

 to use indirect proof or circumstantial evidence to prove discrimination. No one expects that a

 sophisticated entities like OSU and the U.S. Department of Education are going to publicly post

 a resolution that they have agreed to discriminate against male students in the handling of sexual

 misconduct complaints. Accordingly, Plaintiff requests the Court order Defendants to fully

 respond to Document Request Nos. 8-12 and 27

          3.     Requests For Information On Other Title IX Investigations Contained in
                 the Spreadsheet and of Similarly Situated Students

                 a. Documents relating to other similarly situated students.

        As stated in the opening brief, Defendants took the position during the discovery dispute

 that the Court had ruled that it was not required to provide any documents relating to other

 similarly situated students other than the spreadsheet that it prepared, but this position contradicts

 the language of the Court’s order. Plaintiff agreed to accept the spreadsheet as a mechanism to

 narrow the requests to address Defendants’ undue burden and proportionality arguments. In its

 response brief, Defendants have abandoned their position that the Court has precluded Plaintiff

 from obtaining this discovery and instead argues the discovery is not relevant and that Plaintiff

 should be required to rely solely on the spreadsheet prepared by Defendants.

        In its response brief, Defendants relied on the Baylor case. Interestingly, that court

 addressed the exact same issue and found that the plaintiffs were entitled to student files of other

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 similarly situated students (in fact, the Baylor court granted much broader discovery than

 requested here, including all files relating to “sex” violations at the school). Doe v. Baylor Univ.,

 6:16-cv-00173 (ECF No. 146, pp. -48) (W.D. Tx. July 26, 2017)

        From Defendants’ spreadsheet, Plaintiff has reasonably narrowed the request to

 documents in Defendant’s possession and control relating to (1) the twenty female students

 identified in the spreadsheet (see Exhibit 8, p. 2-3 and Exhibit B thereto); and (2) all documents

 related to seven cases identified in the spreadsheet involving discipline similar to that imposed

 on Plaintiff, including (i) 2013138901; (ii) 2013207501; (iii) 2013230601; (iv) 2014000401; (v)

 2014032801; (vi) 2014073403; and (vii) 2014125601. Plaintiff also requested all documents

 relating to OSU’s “N/A” charging decision and/or “not in violation” findings in the following

 eight files identified in OSU’s spreadsheet in Exhibit 8A: (i) 2013179301; (ii) 2013217503; (iii)

 2014073403; (iv) 2014155101; and (v) 2013159002; (vi) 2014156401; (vii) 2013165602; and

 (viii) 2014029503. Id. Finally, Plaintiff requested Defendant supplement the spreadsheet to

 provide information about whether the matter was appealed and, if so, the outcome. Id.

          The discovery is relevant to whether Defendants are treating similarly situated students

  differently than Plaintiff. As the Court ruled in Miami, evidence of gender discrimination in

  Title IX cases “might include, inter alia, statements by members of the disciplinary tribunal,

  statements by pertinent university officials, or patterns of decision-making that also tend to

  show the influence of gender” and might include evidence that a female accuser was treated

  differently than a male. Miami, 882 F. 3d at 590, 593. Plaintiff cannot uncover this evidence

  and investigate its claims based solely on a summary chart prepared by Defendants. As the

  Court stated in Baylor:




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              The Court is acutely aware of the privacy concerns Baylor raises, and

       those concerns weigh heavily on nearly every decision made by the Court in this

       and related cases. But in this instance, at least, the Court cannot agree that those

       privacy concerns outweigh Plaintiffs’ interest in being able to adequately

       investigate the substantial and serious allegations made in their complaint. The

       protective order the Court expects to enter in this case will add a substantial level

       of privacy protection to students whose records will be disclosed. Baylor’s

       argument that the records from the ten Plaintiffs alone should be sufficient to

       demonstrate an official policy of discrimination, if one indeed exists or existed,

       seems to ignore the realities of how an official policy adopted by custom can be

       demonstrated. Reviewing Baylor employees’ communications and records

       relevant to third-parties may provide details about exactly how sexual assault

       reports were handled at the school that are not apparent (or not as apparent) from

       Plaintiffs’ own records, but still very relevant to their claims. Unlike in

       Hernandez, where the Court barred an early discovery request by the plaintiff

       because the information was accessible from other sources, here the Court finds it

       quite likely that the information Plaintiffs seek may only be available in these

       third-party records.

              Moreover, the Court finds that allowing Baylor to prepare a spreadsheet

       summarizing third-party reports of sexual assault would almost completely

       undercut the documents’ value to Plaintiffs.

              Compiling summaries of “[h]ow Baylor learned of alleged assault,” who

       at Baylor was “made aware of the alleged assault,” and the “[d]isposition of the


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        complaint,” will, in many cases, require weighing evidence and drawing

        conclusions about certain facts. It would be fundamentally unfair to allow Baylor

        to conduct that investigation itself. (Def.’s Post-Hearing Br., Dkt. 114, at 1–2).

        The Court has no trouble envisioning situations in which, after reviewing original

        documents, Plaintiffs and Defendant could reasonably come to different

        conclusions about who at Baylor knew about an assault, how the school learned of

        the assault, and how the report was ultimately resolved. To allow Baylor to make

        all of those conclusions would undercut the value of discovery regarding third-

        party assaults to Plaintiffs.

 Baylor at pp. 6-7; see also Doe v. Marymount Univ., Case No. 1:17-cv-401-TSE-MSN, 2018 WL

 1352158, at *9 (E.D. Va. Mar. 14, 2018) (demonstrating the need to have access to the

 statements of relevant university personnel during the hearing of the case to find evidence of

 gender discrimination).

        For the reasons stated herein, the requested student files are relevant and reasonably

 calculated to lead to the discovery of admissible evidence. The other relevant, related discovery

 requests, all of which Defendants refuse to respond to, or provide additional information aside

 from that in the spreadsheet, are:

        Request for Admission No. 1, which Defendant objected to without responding.

        1. Admit some females in OSUs Spreadsheet in Exhibit A were alleged to have violated
           at least one of the four Policies in Exhibit B but OSU did not charge these females
           with violating said Polic(ies).

        Plaintiff’s Third Set, Interrogatory No. 15-18, which Defendant refused to respond.

        15. Identify all female student(s) and/or female employee(s) alleged to have violated any
        of the four Policies identified in Exhibit B.

        16. For each female identified in Interrogatory No. 15, identify all person(s) involved in

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        deciding whether to charge these female(s) with allegedly violating any of the four
        Policies identified in Exhibit B.

        17. For each female student identified in Interrogatory No. 15, identify all person(s)
        involved in adjudicating any charge that these females violated any of the four Policies
        identified in Exhibit B.

        18. For each female student identified in Interrogatory No. 15, identify all academic
        sanctions and/or employment related discipline imposed for alleged violations of any of
        the four Policies identified in Exhibit B.

 (See Exhibit 7)

        For the same reasons stated above, these requests are relevant and reasonably calculated

 to lead to the discovery of admissible evidence. As discussed below, Defendants’ objections to

 the production of these documents should be overruled.

                   b. The Narrowed Requests Are Neither Unduly Burdensome Nor
                      Disproportionate to the Needs of the Case.

         Again, not to be repetitive, but as stated in the opening brief, the files at issue were

  likely already produced to OCR as part of its investigation into Title IX practices at OSU.

  Moreover, reviewing, redacting, and taking note of student names on 1,500 pages is not

  unduly burdensome nor is the estimated cost of $10,000. Defendants simply do not want to

  provide the requested discovery.


                   c. The Protective Order Addresses Confidentiality and FERPA Concerns.

        Defendants’ argument that the discovery sought contains sensitive or confidential

 material protected from disclosure by FERPA is not well taken. See In re TJX Cos., No. 07-

 1853-KHV, 2008 U.S. Dist. LEXIS 46365, at *8-9 (D. Kan. June 12, 2008) (“As to plaintiffs’

 objection that the information sought may invade their privacy, this reason by itself is

 insufficient to make the discovery objectionable. Since there has been a protective order entered

 in this case . . . this type of information could be designated as ‘confidential’ and produced


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 pursuant to the protective order.”). And, again, the Baylor case, which Defendants urge the

 Court to follow, likewise holds that the need for production of these types of records outweighs

 the need for privacy because the protective order addresses the FERPA concerns. See Baylor at

 p. 6.

                 d. Plaintiff is entitled to the requested information about whether the case
                    was appealed and, if so, the outcome of the appeal.

         The parties disagree about what is the “outcome” of a case. Plaintiff’s position is that,

 because OSU allows all students to appeal the outcome of a disciplinary proceeding, the

 outcome includes whether the case was appealed and, if so, the result of the appeal. Defendants

 disagree and assert that Plaintiff is not entitled to know if the cases on the spreadsheet were

 appealed and, if so, what the outcome of the appeal was. Plaintiff asserts that the relevant

 information is the final outcome, not the outcome at the hearing. Plaintiff is entitled to

 discovery about whether the appellate process at OSU was discriminatory.

         For all of these reasons, Plaintiff is entitled to the requested files identified above from

 OSU, supplemental information in the spreadsheet about appeals, and complete responses to

 Request for Admission No. 1 and Interrogatory Nos. 15-18.

          4.      Documents Relating to OSU’s Investigation of its Office of Sexual Civility
                  and Empowerment

         OSU closed its Office of Sexual Civility and Empowerment (“SCE”) because it was

 “mismanaged” and “failed to properly document and report information regarding some sexual

 assault complaints by students.” See https://news.osu.edu/ohio-state-dissolves-sexual-civility-

 and-empowerment-unit/ (last accessed Sept. 13, 2018). Central to the mismanagement and

 misdeeds was Natalie Spiert, OSU’s employee who it assigned to serve as Jane Doe’s advisor.

 She served as OSU’s agent. If she was discriminatory towards male students, she did so as


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 OSU’s agent and OSU is responsible for that discrimination whether or not she is a party. The

 relevant discovery requests are:

          36.       All communication(s) and document(s) relating to the 2017 analysis of the OSU
                    Office of Sexual Civility and Empowerment addressed in Christina L. Corl’s
                    October 16, 2017 letter in Exhibit A.

          37.       All communication(s) and document(s) relating to your creation of OSU’s Office
                    of Sexual Civility and Empowerment.

          38.       All communication(s) and document(s) relating to any training provided to your
                    employees and/or agents associated with OSU’s Office of Sexual Civility and
                    Empowerment.

 See Exhibit 7. 7

          Defendants have refused to respond to these requests as being either irrelevant or

 attorney-client privileged. However, the fact that Defendant has disclosed documents relating to

 the investigation to the media in response to FOIA requests demonstrates that at least some of the

 documents are not privileged. Defendant must either produce the documents or provide proof to

 meet     its     burden   of   demonstrating   that   the   investigation    was    privileged.   See

 https://www.daytondailynews.com/news/osu-employees-failed-report-sexual-assault-called-

 survivors-delusional/J7L6xdH7cmgLKiHf7g1aCK/ (last accessed Sept. 13, 2018) (“About 200

 documents released to the Dayton Daily News by Ohio State this week show that several

 complaints were lodged against the SCE’s leadership and show that there was an internal

 struggle for power of the organization. Among those criticized were assistant director Natalie

 Spiert . . .”)

          As Exhibit B to its response brief, Defendants provided an affidavit from an employee

 (title unknown) of the Office of Legal Affairs, asserting that the requested documents are

 7These discovery requests were served before Plaintiff had knowledge of the suspension and
 closing of the Office of Sexual Civility and Empowerment or of the involvement of another law
 firm in the investigation. However, Plaintiff asks the Court to address the full investigation in its
 ruling to avoid future discovery issues.
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 privileged. However, the affidavit does nothing to prove that the investigation or related

 documents are privileged. There are no dates, no names, or other specific information to prove

 that a privilege exists. The affidavit does nothing more than say, the documents are privileged

 because we say so. This is simply insufficient to prove that any of the documents relating to the

 investigation of the Office of Sexual Civility or Spiert are privileged. And, it seems to contradict

 counsel of record’s letter to NCHERM asserting privilege over the documents after the subpoena

 was served. (See Exhibit 8D).

        Plaintiffs respectfully request that the Court order Defendants to fully respond to RFP

 Nos. 36-38 for all of its investigations into the Office of Sexual Civility and Empowerment and

 Natalie Spiert.

          5.       Documents relating to OSU’s Title IX Policies and Training Materials

        Plaintiff sought to compel full responses to the following Request for Production of

 Documents:

        19. The University’s policies, procedures, rules, and regulations concerning sexual
            assault that were in effect during the following school years: (a) 2010-2011; (b)
            2011-2012; (c) 2012-2013; (d) 2013-2014; (e) 2014-2015; (f) 2015-16; and (g) 2016-
            17.

        20. All documents concerning any proposed revisions made or not made to the OSU’s
            policies, procedures, rules, and regulations concerning sexual assault during the years
            2010 to date.

        24. All documents concerning the training or guidance given to any OSU employee or
            student who was involved in any way in the investigation, evaluation, prosecution,
            adjudication, or appeal of the charge against John Doe.

        26. All documents concerning the operation and conduct of the University Conduct
            Board or the training of its members for the following school years: (a) 2010-2011;
            (b) 2011-2012; (c) 2012-2013; (d) 2013-2014; (e) 2014-2015; (f) 2015-16; and (g)
            2016-17.

        27. All documents concerning the University’s efforts to comply with the provisions of
            Title IX since 2010.

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         28. All documents concerning training or guidance given to any OSU employee or
             student concerning Title IX, sexual misconduct, sexual violence, sexual harassment
             or consent since 2010.

         Defendants assert that they should only be required to provide the actual policies and

 training materials and not any correspondence, committee meeting minutes, meeting agendas,

 etc. relating to changes to the policies and procedures. This information is relevant and

 discoverable because it may show that OSU was guided by gender discrimination in its policy

 and procedure preparation or implementation.

         Plaintiff’s requests are tailored to sexual misconduct, sexual violence, consent and sexual

 harassment under Title IX. And, again, to the extent they are not, Plaintiff does not object to any

 such limitation. Defendant’s exaggerated examples that Plaintiff is seeking documents about

 field time for the women’s soccer team is another attempt to avoid responding to any of the

 discovery requests. Plaintiff’s counsel is willing to assert that defense counsel would admit that

 they know Plaintiff’s counsel are not seeking information about scheduling field time for the

 soccer teams. It does nothing more than evidence Defendants’ desire to avoid discovery in this

 case.

         Thus, Plaintiff respectfully moves this Court to compel Defendant to fully respond to

 Request for Production Nos. 19-20, 24-28.

          6.     Documents from OSU’s Website

         Document Request Numbers 21 and 22 seek information about information on OSU’s

 Office of Sexual Civility and Empowerment website, as follows:

    21. A copy of OSU’s Office of Student Life’s Sexual Civility and Employment website
        representing that “1/4 college women report surviving rape or attempted rape at some
        point in their lifetime” and all documents to support this assertion.

    22. A copy of OSU’s Office of Student Life’s Sexual Civility and Employment website
        representing that “1 out of 6 American women has been the victim of attempted or
        complete rape . . .” and all documents to support this assertion.
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       Defendant has refused to produce the requested documents. See Exhibit H, p. 4, I, p. 3, ¶ 5

 and J, p. 3. Again, these documents are relevant and discoverable and Defendant should be

 ordered to respond fully to Document Request Nos. 21 and 22. Defendants assert they do not

 know how to produce a website. It is their website developed by their sophisticated IT

 department. Their employees know how to produce a verified copy of a website. Moreover, a

 copy of the website is only a portion of the requests, Defendants have also not produced the

 requested documents to support the assertions referenced in RFP Nos. 21 and 22. Accordingly,

 Defendants should be ordered to fully respond to RFP Nos. 21 and 22.

           7.      Documents from other Title IX lawsuits filed by males against OSU

          In his Third Request for Production of Documents, Plaintiff requested all documents

 produced from OSU to the Plaintiff in two other similar cases in the Southern District of Ohio:

 (1) John Doe v. The Ohio State University, et al., No. 2:15-cv-02830; and (2) Waters v. Drake,

 et al., No. 2:14-cv-01704. As both cases have similar allegations, Plaintiff asserts that the

 productions likely contain relevant information that can be produced pursuant to the protective

 order. Plaintiff disagrees saying the documents are irrelevant and the requests unduly

 burdensome, overly broad, and disproportionate. See Exhibit 7. However, the document

 exchange in those cases more likely than not happened electronically. Defendant can simply

 forward the production. Because the parties cannot agree on this issue, it is respectfully

 submitted to the Court for decision on whether Defendant is required to produce the documents

 requested in Document Request Nos. 39 and 40.

  C.       CONCLUSION

          The Court should grant the Motion to Compel and require Defendant to provide: (i) a

 privilege log; (ii) documents exchanged with the U.S. Department of Education and its Office of

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 Civil Rights relating to Title IX compliance at OSU; (iii) information and documents relating to

 investigations at OSU into other Title IX matters of similarly situated students; (iv) documents

 relating to OSU’s investigation and closing of its Office of Sexual Civility and Empowerment;

 (v) documents relating to OSU’s Title IX policies and training materials; (vi) information and

 documents relating to pages on OSU’s website relating to Title IX; and (vii) documents relating

 to other Title IX lawsuits brought against OSU by male students. Plaintiff should also be

 awarded expenses, including attorney’s fees, for filing this motion. Fed. R. Civ. P. 37(a)(5).


                                               Respectfully submitted,

                                               /s/ Tracy L. Turner____________________
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                                               Counsel for Plaintiff


                                  CERTIFICATE OF SERVICE

        I hereby certify that on this 13th day of September, 2018, I filed the foregoing with the

 Clerk of Court, who will send notification to all counsel via the Court’s electronic filing system.

                                                       /s/ Tracy L. Turner
                                                       Tracy L. Turner




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